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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                FLORENCE DIVISION

TERESA MORMAN,                         )            Civil Action No.: 4:20-cv-04365-JMC
                                       )
                    Plaintiff,         )
                                       )
              v.                       )
                                       )                         ORDER
KILOLO KIJAKAZI,1                      )
Acting Commissioner of Social Security )
Administration,                        )
                                       )
                    Defendant.         )
___________________________________ )

       The matter before the court is Defendant Kilolo Kijakazi’s Consent Motion for Entry of

Judgement with Order of Remand Pursuant to Sentence Four of 42 U.S.C. § 405(g). (ECF No. 28.)

According to Kijakazi,“further administrative action is warranted in this case.” (ECF No. 28.)

Furthermore, Plaintiff Teresa Morman consents to this Motion as well.

       After consideration of Kijakazi’s Motion and the Morman’s consent, the court GRANTS

the Motion (ECF No. 28), ENTERS Final Judgment under Rule 58 of the Federal Rules of Civil

Procedure, and REMANDS this case to the Commissioner pursuant to sentence four of 42 U.S.C.

§ 405(g).

       IT IS SO ORDERED.



                                                              United States District Judge
November 1, 2021
Columbia, South Carolina


1
 On July 9, 2021, Kilolo Kijakazi became the Acting Commissioner of Social Security; therefore,
pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi may be substituted
for Andrew Saul as Defendant in this suit. According to 42 U.S.C. § 405(g), this substitution does
not affect the viability of this suit.
